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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

                          Civil Case Number: 8:19-cv-02502-VMC-CPT

                                                 :
Christopher Chaleman,                            :
                                                 :
                                                 :
                         Plaintiff,              :
       v.                                        :
                                                 :
Hunter Warfield, Inc.,                           :
                                                 :
                         Defendant.              :
                                                 :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)


       Christopher Chaleman (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the
complaint and voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P.
41(a)(1)(A)(i).

Dated: April 14, 2020

                                             Respectfully submitted,

                                             By /s/ Matthew Fornaro

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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 14, 2020, a true and correct copy of the foregoing Notice of
Withdrawal was served electronically by the U.S. District Court for the Middle District of
Florida Electronic Document Filing System (ECF) and that the document is available on the ECF
system.



                                             By_/s/ Matthew Fornaro ________

                                                      Matthew Fornaro
